Case 1:05-cv-01455-DFH-TAB      Document 58    Filed 06/12/07   Page 1 of 2 PageID #:
                                       579



                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION


F. JONATHAN ZUSY,                             )
                                              )
                   Plaintiff,                 )
                                              )
      v.                                      ) CASE NO. 1:05-cv-1455-DFH-TAB
                                              )
INTERNATIONAL MEDICAL GROUP,                  )
INC.,                                         )
                                              )
                   Defendant.                 )


                                FINAL JUDGMENT


      The court has issued today its entry granting defendant’s motion for

summary judgment. IT IS THEREFORE ORDERED, ADJUDGED AND DECREED

that plaintiff F. Jonathan Zusy take nothing by his complaint against defendant

International Medical Group, Inc., and that this action is DISMISSED WITH

PREJUDICE.



Date: June 12, 2007
                                              DAVID F. HAMILTON, JUDGE
                                              United States District Court
                                              Southern District of Indiana


Laura Briggs, Clerk
United States District Court


By: Deputy Clerk
Case 1:05-cv-01455-DFH-TAB   Document 58   Filed 06/12/07   Page 2 of 2 PageID #:
                                    580



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